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             IN THE UNITED STATES DISTRICT COURT FOR THE
                     NORTHERN DISTRICT OF FLORIDA
                         TALLAHASSEE DIVISION



UNITED STATES OF AMERICA

v.                                            CASE NO. 4:02cr52-RH-CAS

ERIC EUGENE BALCOM,

                  Defendant.

______________________________/


                           ORDER REDUCING THE SENTENCE


         The defendant Eric Eugene Balcom is serving a life sentence that was

mandatory when imposed. He is eligible for a sentence reduction under the First

Step Act. The order of January 28, 2019 explained the issues and indicated that if

the government consented, Mr. Balcom’s sentence would be reduced to time

served, effective 14 days after entry of the order announcing the reduction. The

order noted that, if Mr. Balcom had received all gain time credits for which he was

eligible, a reduction to time served would be roughly equivalent to a reduction to

228 months.

         Since entry of the January 28 order, Mr. Balcom has moved to reduce his

sentence to “228 months (time served).” The government has filed a response



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indicating it consents to a reduction to 228 months. This order reduces Mr.

Balcom’s sentence based on the analysis in the January 28 order, Mr. Balcom’s

motion, the government’s consent, the entire record, and the sentencing factors in

18 U.S.C. § 3553(a).

         IT IS ORDERED:

         1. Mr. Balcom’s sentence is reduced to the greater of 228 months or time

served effective as of March 14, 2019. The judgment remains the same in all other

respects.

         2. The clerk must provide copies of this order to the attorneys of record and

the Federal Public Defender through the electronic filing system.

         SO ORDERED on February 27, 2019.

                                         s/Robert L. Hinkle
                                         United States District Judge




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